UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NEW YORK

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LERK'S OFFICE
DAVID B. JACOBS, U.S. dISFRICT COURT E.D.
Plaintiff, * Oct 12 2005
-against- 4A
(SY COMPLAINT] ONG ISLAND OFFI¢

MICHAEL MOSTOW, HORACE WILLIAMS, CV QO A Oth
HERSCHEL WILLIAMS, ARNOLD GOLDBERG, x VS

ROSEVELT UNION FREE SCHOOL DISTRICT,

BOARD OF EDUCATION OF THE A JURY TRIAL IS
ROOSEVELT UNION FREE SCHOOL DISTRICT DEMANDED
GLENN SIMMONS, THE AMERICAN ARBITRATION

rr
ASSOCIATION, ARTHUR REGAL, SEYB ERT J
JASPAN SCHLESINGER, HOFFMAN, L.L.P., tt > we

LAWRENCE TENENBAUM, STEVEN A. FAYER, M.D., .

PEARSON, RANDALL SOLOMON, M.D., LINDSAY M
NEW YORK STATE UNITED TEACHERS, rive
ROOSEVELT TEACHERS’ ASSOCIATION,

THE NEW STATE TEACHERS’ RETIREMENT SYSTEM,

THE STATE OF NEW YORK EDUCATION

DEPARTMENT, AND THE STATE OF NEW YORK,

Defendants.

SUMMARY STATEMENT

As a result of the plaintiff's grievance for back pay and
salary status, the School District’s Superintendent pursued a
vindictive personal vendetta beginning with the baseless
suspension of the plaintiff. He then set into motion a series
of events designed to take on a life of their own. The
continued abuse of power that followed resulted in the

plaintiff's forced involuntary retirement.

To justify this wrongful suspension, the defendants, in

their official capacities each contributed to or furthered the

-1-

creation of a “case” and paper trail, after the fact, to

provoke the frustration and resignation of the plaintiff.

As stated and described below, it is the plaintiff's
contention that the defendants committed acts of official
misconduct in their official capacities, acts of professional
gross and/or ordinary negligence, intentional acts, knowingly
and deliberately committed or omitted for the wrongful purpose
of damaging the plaintiff and forcing him to retire from his

position as a teacher.

JURISDICTIONAL STATEMENT

Jurisdiction was based on a federal question pursuant to
28 USC Sections 1331 and 1343(3), this being an action
authorized by law to redress the deprivation under color of
state law, statute, custom and usage of a right, privilege, and
immunity secured to plaintiff by the Fifth, Sixth, Seventh,
Eighth and Fourteenth Amendments to the Constitution of the
State of New York. The plaintiff also invokes the pendant

jurisdiction of this Court.

Jurisdiction is based on the fact that this is also
an action of Law to redress the deprivation under color of
state law, statute, custom and usage of a right, privilege, and
immunity secured to Plaintiffs by the Fourteenth Amendment to
the Constitution of the United States and 42 USC 1983, 1885 and
arising under the laws and statutes of the State of New York.

Relief pursuant to Title 28 U.S.C. Section 2201 and Rule 57 of

the F.R.C.P is also sought.

Plaintiff, complaining of the defendants, appearing pro-

se, alleges as follows:

1. That at all times hereinafter mentioned the plaintiff
was and still is a resident of the County of Nassau and the

State of New York.

2. That at all times hereinafter mentioned the
defendant, MICHAEL H. MOSTOW (hereinafter referred to as
Mostow) was the District Superintendent of the ROOSEVELT UNION
FREE SCHOOL DISTRICT Roosevelt, New York 11575 (hereinafter
referred to as the RUFSD).

3. That at all times hereinafter mentioned the
defendant, HORACE WILLAMS, was the District Superintendent of
the RUFSD.

4. That at all times hereinafter mentioned the
defendant, HERSCHEL WILLIAMS, was an Assistant District
Superintendent in the RUFSD.

5. That at all times hereinafter mentioned the
defendant, ARNOLD GOLDBERG, was an Assistant District

Superintendent For Personnel in the RUFSD.

6. That at all times hereinafter mentioned the
defendant, RUFSD, was and is a municipal corporation duly
organized and authorized under and existing by virtue of the

laws of the State of New York.

7. That the defendant, BOARD OF EDUCATION OF THE
RUFSD at all times hereinafter mentioned was and is duly
organized and existing under and existing by virtue of the laws

of the State of New York.

8. That the defendant, GLENN SIMMONS, at all times
hereinafter mentioned was a duly elected member of the BOARD OF
EDUCATION OF THE RUFSD.

9. That at all times hereinafter mentioned the

defendant, RUFSD was the plaintiff’s employer.

10. That the defendant, American Arbitration Association,
(hereinafter referred to as the AAA) is a private entity, one
purpose of which is to supply Arbitrators to inquire, take
evidence, conduct hearings, make rulings and render decisions

in civil and administrative matters.

ll. That the defendant, ARTHUR REGAL, at all times
hereinafter mentioned was an employee of the AMERICAN

ARBITRATION ASSOCIATION.

12. That the defendant, ARTHUR REGAL, at all times
hereinafter mentioned was an independent contractor of the

AMERICAN ARBITRATION ASSOCIATION.

13. That the defendant, JASPAN, SCHLESINGER, HOFFMAN,
L.L.P., at all times hereinafter mentioned was and is a law

firm duly authorized to practice Law in the State of New York.

14. That the defendant, LAWRENCE TENENBAUM, at all times

hereinafter mentioned was an attorney authorized to practice

-4-

Law in the State of New York employed by the defendant, JASPAN
SCHLESINGER, HOFFMAN, L.L.P.

15. That the defendant, STEVEN FAYER, M.D. was at ali
times hereinafter mentioned a duly licensed physician in the

State of New York.

16. That upon information and belief the defendant

PEARSON, is a foreign corporation doing business in New York.

17. That upon information and belief the defendant

PEARSON, is a domestic corporation doing business in New York.

18. That the defendant, RANDALL SOLOMON, M.D., at all
times hereinafter mentioned was and is a duly Licensed

physician in the State of New York.

19. That the defendant, NEW YORK STATE UNITED TEACHERS
(hereinafter referred to as NYSUT) at all times hereinafter
mentioned was and is the duly recognized bargaining agent for

the plaintiff and the defendant, RUFSD.

20. That the defendant, NYSUT at all times hereinafter
mentioned was and is the duly recognized representative for the

plaintiff.

21. That the defendant, ROOSEVELT TEACHERS’ ASSOCIATION,
hereinafter referred to as the RTA} at all times hereinafter
mentioned was and is the duly recognized bargaining agent for

the plaintiff and the defendant, RUFSD.

22. That the defendant, THE NEW YORK STATE TEACHERS’
RETIREMENT SYSTEM, (hereinafter referred to as the NYTRS) at
all times hereinafter mentioned was and is duly organized and
existing under and existing by virtue of the laws of the State

of New York.

23. That the defendant, THE STATE OF NEW YORK EDUCATION
DEPARTMENT, hereinafter referred to as the NYSED) is a

subdivision of the State of New York.

24. That the defendant, HORACE WILLIAMS, during the
school year 2000-2004 was the Superintendent of the RUFSD.

25, That a NOTICE OF CLAIM upon which this action(s) is
founded was presented to the municipal defendants on or about

March 26, 2005.

26. That at least thirty days have elapsed, since the
demand, notice of claim was presented to the municipal
defendants for adjustment, and that all defendants have
neglected or refused to make an adjustment or payment thereof

for thirty days after such presentment.

27. That the municipal defendant, the Roosevelt UFSD,
required the plaintiff to be examined as provided in section
fifty-h of the General Municipal Law, and all the provisions of

such section were complied with by the plaintiff.

28. That all other municipal defendants have waived the
examination of the plaintiff as provided in section fifty-h of
the General Municipal Law, and all the provisions of such

section were complied with by the plaintiff.

-6-

29. That this action(s) has been brought within the
periods set by the statutes of limitations founded on the

claims and allegations herein presented and set forth.

30. That the plaintiff, DAVID B. JACOBS, was employed by
the defendant, RUFSD, from approximately September 1994 as a

regularly appointed Teacher of Science.
31. That the plaintiff, DAVID B. JACOBS, was at all

times ready, willing and able to perform his professional

duties pursuant to his contract of employment.

AS AND FOR A FIRST CAUSE OF ACTION

32. The plaintiff repeats and realleges paragraphs 1
through 31 above.

33. That the plaintiff, DAVID B. JACOBS, was hired on
the Ph.D. level at the beginning of the Fall, 1994 semester as
a Teacher of Physics. Shortly after the term began it became
apparent that the plaintiff was being paid on a Masters degree
level and not equivalent to the Ph.D. level agreed upon. After
having complained to the RTA, he was informed by the RTA that
he would most likely be fired without a hearing, if he filed a

grievance before he had attained tenure. Each defendant was

afraid to break step in the unspoken process with the powers

that be.

34. After tenure was obtained the plaintiff, in or about
September 1999 filed a grievance for back pay and status

increase to Ph.D. level.

35. That just prior to the time that the grievance was to
be arbitrated (circa. January 2000), the defendant, Michael
Mostow, agreed to grant the plaintiff Ph.D. status and back pay
on the Ph.D. level to September 1999.

36. The defendant RTA had discovered within the time that
the grievance was being maintained that the defendant Michael
Mostow, had, at least a year earlier, hired as a teacher an
African American, and granted Ph.D. status to her, though she
had the same degrees as the plaintiff, but had not disclosed
that fact to the RTA. Such acts constituted racial

discrimination

37. That upon being found out, the defendant, Michael
Mostow, tried to settle the issues by issuing an immediate
directive as described in paragraph 35 above. It took effect

without plaintiff’s assent.

38. That upon obtaining knowledge of this directive, the
plaintiff approached the defendant, RTA and requested that a
second grievance be filed (circa. February 2000) to obtain his
back pay to the date of hiring, September 1994, as the original

grievance was intended.

39. That following this, the RTA met with the defendant,
Mostow. The RTA representative informed the plaintiff that the
defendant, Mostow, was livid at the suggestion of a second
grievance and indicated that Mostow threatened to and would
retaliate against the plaintiff, should the plaintiff file a

second grievance.

40. That the plaintiff directed the RTA to file a second

grievance as described in paragraph 38 above.

41. That within approximately six weeks from the filing of
the second grievance the plaintiff was handed a letter from the
defendant, Mostow, dated March 23, 2000, that suspended the
plaintiff from his teaching position, and directed him not to
return to the RUFSD under threat of arrest for trespass,
Exhibit “A” attached. The defendant, Mostow, initiated a
malicious retaliatory process utilizing RUFSD resources, which
was systematically accepted and ratified by the other

defendants.

42. That the plaintiff was told to hand over his classroom,
file cabinet and equipment storage room keys. The plaintiff was

given a half-hour to leave the premises under threat of arrest.

43. That the plaintiff was directed in approximately May
2000 to return to the RUFSD by the defendant, Mostow.

44. That the plaintiff was directed in approximately May
2000 by the defendant, Mostow, to sit in the Assistant
Superintendent’s office without an assignment of professional

duties.

45. That between 1994 and 2004 school years there existed
a collective bargaining agreement between the plaintiff and the

defendant, ROOSEVELT UFSD.

46. That between 1994 and 2004 school years there
existed a written contract of employment between the plaintiff

and the defendant, ROOSEVELT UFSD.

47. That between 1994 and 2004 school years there
existed a contract of employment between the plaintiff and the

defendant, ROOSEVELT UFSD.

48. That the defendants, in their official capacities,
for the purpose of injuring the plaintiff, committed acts
relating to their offices constituting an unauthorized exercise
of their official functions, knowing that such acts were
unauthorized or done in an unauthorized manner, or refrained
from performing duties which were imposed upon them by law or
were clearly inherent in the nature of their offices and
failed to make an adequate investigation before taking action
to suspend the plaintiff with pay on or about March 23, 2000,
from the ROOSEVELT UFSD.

49. That the defendants, neglected, failed and/or refused
to carry out the New York State substantive law before taking

action to suspend the plaintiff with pay on or about March 23,
2000.

50. That the defendants, neglected, failed and/or refused
to perform the New York State statutory procedural steps before

taking action to suspend the plaintiff with pay on or about

~10-

March 23, 2000.

51. That the defendants continued to neglect, refused
and/or failed to give any reasonable interpretation to the

provisions of the contract and the above mentioned employment.

52. That the defendants refused and/or failed to give any

reasonable explanation or basis for suspending the plaintiff.

53. That the defendants failed to follow their own
procedures before taking action to suspend the plaintiff with

pay on or about March 23, 2000.

54. That the defendants breached the contract of
employment between the plaintiff and the defendants by failing
to act in good faith in following the procedures set forth in
that contract before taking and after action was taken to

suspend the plaintiff with pay on or about March 23, 2000.

55. That the defendants breached the contract of
employment between the plaintiff and the defendants by
suspending the plaintiff without just cause on or about March

23, 2000.

56. That the defendants, acting singularly or in
complicity with one or more other defendants, acted with malice

or in reckless or willful disregard of the plaintiff's rights.

57. That the defendants engaged in morally culpable
conduct. The plaintiff seeks to recover compensatory as well as
punitive damages from the defendants as a result of the said

actions by the defendants, one or more of them.

-11-

58. That upon information and belief the defendants
acting singularly, or in complicity with one or more other
defendants, suspended the plaintiff with pay in unjustified
retaliation because the plaintiff previously instituted a
grievance to obtain back pay. The defendant(s) committed these
acts with malice or in reckless or willful disregard of

plaintiff's rights.

59. That the defendants wrongfully disciplined the
plaintiff on March 23, 2000 without a hearing in violation of
the New York State Education Law including, but not limited to

section 3020(a) and related provisions.

60. That the defendants wrongfully and maliciously
required the plaintiff to undergo a psychiatric examination
pursuant to New York State Education Law 913 and related

provisions.

60. That upon information and belief the defendants,
acting singularly or in complicity with one or more other
defendants, continued the suspension of the plaintiffs in order
to place the plaintiff under emotional and economic duress via

the threat of termination.

61. That the defendants’ acts, acting singularly or in
complicity with one or more other defendants described above,
constituted wrongful interference with the plaintiff's

contractual relations with the RUFSD.

62. That the defendant’s acts, acting singularly or in

complicity with one or more other defendants alleged above,

-12-

have and continue to intentionally, knowingly, deliberately
and/or negligently caused the plaintiff irreparable harm in
divesting him of control over the access of plaintiff's
professional activities, his career as a teacher, access to
other employment, thereby causing or contributing to
plaintiff’s anxiety and his diminished economic status in

reckless disregard of his rights.

63. That upon information and belief, the defendants,
acting singularly or in complicity with one or more other
defendants alleged above, had knowledge of the wrongful acts
complained of, but nevertheless ratified the acts that the
plaintiff was subjected to and/or have refused to take

corrective or remedial action to date.

64. That the defendants, upon information and belief,
acted singularly or in complicity with one or more other
defendants alleged above, knowingly, to suspend the plaintiff
in violation of the provisions of the contract of employment

between the plaintiff and the defendant, RUFSD.

65. That the defendants, upon information and belief,
singularly or in complicity with one or more other defendants
alleged above, acted negligently in suspending the plaintiff in
violation of the contract of employment between the plaintiff

and the defendants.

66. That the defendants, upon information and belief,
singularly or in complicity with one or more other defendants
alleged above, acted intentionally in suspending the plaintiff
in violation of the contract of employment between the

plaintiff and the defendant, RUFSD.

-13-

67. That the defendants, upon information and belief,
singularly or in complicity with one or more other defendants
alleged above, acted deliberately in suspending the plaintiff
in violation of the contract of employment between the

plaintiff and the defendant, RUFSD.

68. That the defendant’s action compelled the plaintiff
to engage legal counsel and/or initiate litigation to recover

damages for said breach of contract and/or tortious conduct.

69. As a consequence of the above the plaintiff has

suffered personal injuries.

70. At all material times and in doing the things alleged
herein the defendants knew that the plaintiff was free from

fault.

71. That the defendants, upon information and belief,
Singularly or in complicity with one or more other defendants,
acted fraudulently, oppressively, maliciously and outrageously
by, being morally culpable towards the plaintiff, wrongfully
suspending, continuing to suspend the plaintiff from his
teaching responsibilities and/or denying the plaintiff’s

requests to be returned to the classroom as a teacher.

72. That in committing the acts complained of above, the
defendants violated the plaintiff’s constitutional rights,
statutory rights and common law rights, including, but not
limited to: practicing their professions with negligence on
more than one occasion; in practicing their professions with

gross negligence on a particular occasion; in practicing their

-14-

professions with incompetence on more than one occasion; in
practicing their professions with gross incompetence; in
engaging in conduct in the practice of their professions which
evidenced a moral unfitness to practice; in willfully making or
filing a false report or failing to file a report required by
law and/or the department of heaith or education or willfully
impeding or obstructing such filing, or inducing another person

to do so; in violating New York State Education Law.

73. As a direct and proximate result of the conduct of the
defendants, the plaintiff has, and upon information and belief,
will continue to sustain substantial compensable losses such as
Salary, pension, social security, physician expenses, medical
expenses, travel and other expenses, suffered embarrassment,
humiliation, destruction of a lifetime’s collection of teaching
materials, professional files and equipment, the irreparable
loss of credibility, severe emotional distress and discomfort,
all to the plaintiff’s detriment and damage in a sum of Five

Million Dollars ($5,000,000.00).

AS AND FOR A SECOND CAUSE OF ACTION

74. The plaintiff repeats and realleges paragraphs 1
through 74 above.

75. That the defendants, upon information and belief,
singularly or in complicity with one or more other defendants,
acted wrongfully, intentionally, deliberately and/or
negligently in that they used information that fell outside the

statutory period in order to bring charges against the

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plaintiff pursuant to New York State Education Law 3020(a) and

related provisions.

76. That the defendants, upon information and belief,
singularly or in complicity with one or more other defendants,
acted wrongfully, intentionally, deliberately and/or
negligently in that they selectively provided to other
defendants false, misleading and/or distorted information to be
used to justify the application of section 913 of the NYS

Education Law.

77. The plaintiff repeats and realleges paragraph 73 above.

AS AND FOR A THIRD CAUSE OF ACTION

78. The plaintiff repeats and realleges each and every

paragraph numbered 1 through 77 above.

79. That beginning in 1994 and at all times related to
the acts complained of the defendant, RUFSD, kept in the
ordinary course of business a school file concerned with and
related to the plaintiff. This file contained, not only the
documentation placed there by the defendants, but was supposed
to include the plaintiff’s responses. The plaintiff at
different times discovered documentation that he had never seen
before without numbered pages, and at another time with all
numbered pages, and then again at different time with the
Superintendent’s stamp affixed, which was not signed by him as
received, had no notice of, and/or was not created by any of

the plaintiff’s supervisors. In short, the plaintiff’s file was

-16-

invented and re-invented for the wrongful and malicious
purposes at hand. Nothing in this file related to any act or
omission on the part of the plaintiff that could form the basis
for any disciplinary action as of February 2002. Nothing in
this file refuted the plaintiff’s mental or physical well-being
or ability to perform the functions of a teacher. The
defendant, Mostow wrongfully caused the plaintiff to be
psychiatrically examined in retaliation for the plaintiff's
second grievance for the purpose of creating a paper trail to
cause the plaintiff to resign or provide a false premise for

his dismissal as a teacher at the RUFSD.

80. That upon information and belief, at all material
times and in doing the things alleged herein, the defendants
knew that the plaintiff was free from any medical,
psychological or psychiatric disorder, dysfunction, malady or
disease that interfered with, impaired or diminished the
plaintiff’s capacity to perform his professional duties as a

teacher.

81. That for all times mentioned the defendants supervised

the plaintiff on a regular and continuing basis.

82. That a school file was kept in the ordinary and
customary course of business by the defendants reflecting the

activities, performance and conduct of the plaintiff.

83. That, upon information and belief, at different times
between September 1994 and March 2003, documents were added,
modified and removed from the plaintiff’s school file without

the plaintiff’s knowledge or consent.

=-17-

64. That, upon information and belief, there was no
evidence contained in the above-mentioned school file of the
plaintiff prior to March 23, 2000 that reflected any causal
connection between the acts or omissions of the plaintiff and
the demand that the plaintiff undergo a psychiatric

examination.

85. That, upon information and belief, there was no
evidence contained in the above-mentioned school file of the
plaintiff prior to March 23, 2000 that reflected any causal
connection between the acts or omissions of the plaintiff and
the resulting suspension with pay by the defendants of the
plaintiff.

86. That, upon information and belief, the defendants,
acting singularly or in complicity with one or more other
defendants, acted with malice and/or in reckless or willful
disregard of plaintiff's rights by engaging and pursuing a
course of conduct that they knew or should have known would
emotionally depress and economically diminish, impair and/or
debilitate the plaintiff. The plaintiff seeks to recover
punitive damages from the defendants as a result of such
actions by the defendants, one or more of them as the evidence

will demonstrate.

87. That, upon information and belief, the defendants,
acting singularly or in complicity with one or more other
defendants, acted with malice and/or in reckless or willful
disregard of plaintiff's rights by deliberately causing the
plaintiff to be psychiatrically examined for the purpose of

humiliating, embarrassing, and causing the plaintiff severe

-~18-
emotional distress that would facilitate his retirement or

dismissal.

88. That, upon information and belief, the defendants,
acting singularly or in complicity with one or more other
defendants, deliberately caused the plaintiff to be
psychiatrically examined to create a heretofore non-existent
paper trail to demoralize the plaintiff and cause the plaintiff
to either resign or to provide a false premise for his

dismissal as a teacher.

89. That, upon information and belief, the defendants,
acting singularly or in complicity with one or more other
defendants, maliciously contrived a false premise to wrongfully

invoke section 913 of the NYS Education Law.

90. That, upon information and belief, the defendants,
knowingly caused the plaintiff to be psychiatrically examined
to create a heretofore non-existent paper trail to demoralize
the plaintiff, to cause the plaintiff to resign and form the

basis to dismiss the plaintiff from his position as a teacher.

91. That, upon information and belief, the defendants,
acting singularly or in complicity with one or more other
defendants, including, but not limited to ARNOLD GOLDBERG,
HORACE WILLIAMS, HERSCHEL WILLIAMS AND LAWRENCE TENENBAUM,
selectively culled from a continually changing file and
transmitted false and/or incomplete documents to bias and

prejudice the examining defendant psychiatrists.

-19-
92. That one or more of the documents transmitted to the
examining psychiatrists could not be used as it was too remote

in time to be used as part of a disciplinary proceeding.

93. That the defendant, RUFSD paid for a fraudulent report
to be created and published.

94, That in committing the acts complained of above, the
defendants violated the plaintiff’s constitutional rights,

statutory rights and common law rights.

95. The plaintiff repeats and realleges paragraph 73

above.

AS AND FOR A FOURTH CAUSE OF ACTION

96. The plaintiff repeats and realleges each and every

paragraph numbered 1 through 95 above.

97. That during the plaintiff’s suspension, beginning on
March 23, 2000, the plaintiff was directed to undergo a
psychiatric examination. This was conducted on June 7, 2000 by
the defendant, Steven Fayer, M.D., who, upon information and
belief was selected by defendant, Mostow. That the defendant,
RUFSD, in advance of this examination, transmitted to Dr.
Fayer, approximately twenty selected documents, some from the
plaintiff’s school file without the plaintiff's consent or
knowledge and not including any of the plaintiff’s responses to
any of this documentation. After interviewing the plaintiff and

requiring the plaintiff to complete a questionnaire, the

~270-
defendant, Steven Fayer, M.D., sent the questionnaire to be
evaluated by the defendant, PEARSON. PEARSON then generated a
report based on an algorithm. In the introduction to test to
which this algorithm is applied, the applicability of the test
clearly did not apply to the plaintiff's circumstances. This
report was sent to the defendant, Fayer, who then generated a
report of his own based on PEARSON‘'S report and his own
interview that was then transmitted to the RUFSD resulting in

the plaintiff's continued suspension.

98. That the defendants, upon information and belief,
acted, singularly or in complicity with one or more other
defendants alleged above, without just cause, intentionally,
deliberately, knowingly, fraudulently, oppressively,
maliciously and/or outrageously contrived, designed and
corrupted a process to force the plaintiff to retire or form
the false premise to dismiss the plaintiff from his teaching

position in the RUFSD.

99, That the defendants, upon information and belief,
acted wrongfully in contriving this process, singularly or in
complicity with one or more other defendants to force the
plaintiff to retire or form the false premise to dismiss the

plaintiff from his teaching position in the RUFSD.

100. That the defendant, STEVEN A. FAYER, M.D., a
licensed physician in the State of New York was negligent in
the interview, testing, assessment and/or the evaluation of the
plaintiff, constituting medical (psychiatric) malpractice,

causing the plaintiff the injuries and damage herein set forth.

=-21-

101. That the defendant, his agents, servants and/or
employees was guilty of medical (psychiatric) malpractice in
failing, neglecting and/or refusing to properly review and/or
consider plaintiff’s prior history, test, examine, evaluate,
measure, and/or assess, the plaintiff; in failing and/or
neglecting to obtain an adequate history or diagnosing the
plaintiff; in failing to investigate the medical/psychiatric
history of the plaintiff; in failing to make a differential
diagnosis; in failing to obtain reliable data; in failing to
examine the causes for plaintiff’s condition or obtaining any
factual validation; in testing the plaintiff in a careless,
negligent and unprofessional manner; in failing to correctly or
properly diagnose the plaintiff; in failing to acknowledge the
condition with which the plaintiff was coping at the time of
his examination; in failing to possess and use the degree of
diligence and skill ordinarily possessed by psychiatrists in
the community at the time of the events complained of; in
failing to use reasonable skill, care and diligence in the
exercise of professional knowledge to accomplish the purpose
for which the plaintiff was examined; in failing to take any
effective and adequate means or measures to prevent further
harm and/or injury to the plaintiff; in departing and deviating
from standard and accepted procedures then and there obtaining
in the community; in failing and omitting to take proper and
suitable precautions for the safety of the plaintiff; in
practicing his profession with negligence on more than one
occasion; in practicing his profession with gross negligence on
a particular occasion; in practicing his profession with
incompetence on more than one occasion; in practicing his
profession with gross incompetence; in engaging in conduct in
the practice of medicine which evidenced moral unfitness to

practice medicine; in willfully making or filing a false report

-22-
for pay, or failing to file a report required by law and/or
with the department of health or education, or willfully
impeding or obstructing such filing, or inducing another person
to do so; in violating New York State Education Law § 6530
paragraphs 4,5,6,20 and 21; and in failing and neglecting to
consider the signs, symptoms and/or reasons for the plaintiff’s

behavior or actions.

102. That upon information and belief the defendants,
acting singularly or in complicity with one or more other
defendants, committed theses acts to wrongfully suspend the
plaintiff with pay, force the plaintiff to defend himself,
expend his own funds to refute these accusations, place the
plaintiff in a continuing debilitating position in unjustified
retaliation for the plaintiff instituting a grievance to obtain

back pay.

103. That the defendant(s) committed these acts with
malice or in reckless or willful disregard of plaintiff's
rights. That the defendants engaged in morally culpable

conduct.

104. The plaintiff repeats and realleges paragraph 73

above.

AS AND FOR A FIFTH CAUSE OF ACTION

105. The plaintiff repeat and realleges each and every

paragraph 1 through 104.

-23-
106. That the defendant, RANDALL SOLOMON, M.D., a licensed
physician in the State of New York consciously played out his
hostility toward the plaintiff, in all likelihood because the
plaintiff brought a forensic psychologist to monitor the
examination and attempted to tape record said examination. The
defendant bitterly objected to the use of a tape recorder. When
the plaintiff was told to shut the recorder off, he stated that
he needed to have a clear and complete record of the
examination. It was clear from the defendant’s demeanor

thereafter that he was angered an defensive.

107. That he was negligent in the interview, testing,
assessment and/or the evaluation of the plaintiff, constituting
medical (psychiatric) malpractice, causing the plaintiff the

injuries and damage herein set forth.

108. That the defendant, his agents, servants and/or
employees was guilty of medical (psychiatric) malpractice in
failing, neglecting and/or refusing to properly review and/or
consider plaintiff’s prior history, test, examine, evaluate,
measure, and/or assess, the plaintiff; in failing and/or
neglecting to obtain an adequate history or diagnosing the
plaintiff; in failing to investigate the medical/psychiatric
history of the plaintiff; in failing to make a differential
diagnosis; in failing to obtain reliable data; in failing to
examine the causes for plaintiff’s condition or obtaining any
factual validation; in testing the plaintiff in a careless,
negligent and unprofessional manner; in failing to correctly or
properly diagnose the plaintiff; in failing to acknowledge the
condition with which the plaintiff was coping at the time of

his examination; in failing to possess and use the degree of

-24-

106. That the defendant, RANDALL SOLOMON, M.D., a licensed
physician in the State of New York consciously played out his
hostility toward the plaintiff, in all likelihood because the
plaintiff brought a forensic psychologist to monitor the
examination and attempted to tape record said examination. The
defendant bitterly objected to the use of a tape recorder. When
the plaintiff was told to shut the recorder off, he stated that
he needed to have a clear and complete record of the
examination. It was clear from the defendant’s demeanor

thereafter that he was angered and defensive.

107. That he was negligent in the interview, testing,
assessment and/or the evaluation of the plaintiff, constituting
medical (psychiatric) malpractice, causing the plaintiff the

injuries and damage herein set forth.

108. That the defendant, his agents, servants and/or
employees was guilty of medical(psychiatric) malpractice in
failing, neglecting and/or refusing to properly review and/or
consider plaintiff’s prior history, test, examine, evaluate,
measure, and/or assess, the plaintiff; in failing and/or
neglecting to obtain an adequate history or diagnosing the
plaintiff; in failing to investigate the medical/psychiatric
history of the plaintiff; in failing to make a differential
diagnosis; in failing to obtain reliable data; in failing to
examine the causes for plaintiff’s condition or obtaining any
factual validation; in testing the plaintiff in a careless,
negligent and unprofessional manner; in failing to correctly or
properly diagnose the plaintiff; in failing to acknowledge the
condition with which the plaintiff was coping at the time of

his examination; in failing to possess and use the degree of

-~24-

diligence and skill ordinarily possessed by psychiatrists in
the community at the time of the events complained of; in
failing to use reasonable skill, care and diligence in the
exercise of professional knowledge to accomplish the purpose
for which the plaintiff was examined; in failing to take any
effective and adequate means or measures to prevent further
harm and/or injury to the plaintiff; in departing and deviating
from standard and accepted procedures then and there obtaining
in the community; in failing and omitting to take proper and
suitable precautions for the safety of the plaintiff; in
practicing his profession with negligence on more than one
occasion; in practicing his profession with gross negligence on
a particular occasion; in practicing his profession with
incompetence on more than one occasion; in practicing his
profession with gross incompetence; in engaging in conduct in
the practice of medicine which evidences moral unfitness to
practice medicine; acting in complicity with the intention of
other defendants in willfully making or filing a false report
for pay, or failing to file a report required by law or by the
department of health or the education department, or willfully
impeding or obstructing such filing, or inducing another person
to do so; in violating New York State Education Law § 6530
paragraphs 4,5,6,20 and 21; and in failing and neglecting to
consider the signs, symptoms and/or reasons for the plaintiff's

behavior or actions.

109. That upon information and belief the defendant,
acting singularly or in complicity with one or more other
defendants, committed theses acts to wrongfully suspend the
plaintiff with pay, force the plaintiff to defend himself,
expend his own funds to refute the charges, place the plaintiff

in a continuing debilitating position in unjustified

-~25-

retaliation for the plaintiff instituting a grievance to obtain

back pay.

110. That the defendant committed these acts with malice
or in reckless or wiliful disregard of plaintiff's rights. That

the defendant engaged in morally culpable conduct.

111. The plaintiff repeats and reaileges paragraph 73

above.

AS AND FOR A SIXTH CAUSE OF ACTION

112. The plaintiff repeats and realleges each and every

paragraph 1 through 111.

113. For approximately four years beginning in March 2000
the defendants, acting singularly or in complicity with one or
more other defendants, continued this corrupt process. The
plaintiff was repeatedly shifted from one room to another,
given non-teaching and/or non-professional duties without
meaningful aid or assistance. During these three years the
plaintiff was directed in part to design, create and develop
Science curriculum for grades K-12, when the defendants knew or
should have known that the plaintiff had no knowledge,
background, experience in such area. The defendants
intentionally frustrated the plaintiff by refusing to provide
him with any meaningful assistance, The defendants actually
refused to permit the plaintiff to use the school library,

computers, speak to colleagues, and obtain resource information

—-2?6-

from school personnel. The defendants permitted the plaintiff
to work outside the school premises to perform his
responsibilities only to stop him when he was showing signs of
making progress. In addition, for about a year and a half the
plaintiff was directed to call parents to inform them of their
child's absence from school. The plaintiff was also directed to
train and assist another teacher in Science to perform Science
demonstrations only to be told that he could not have access to

Science equipment or chemicals.

114. That on or about February 2003 the defendants, acting
singularly or in complicity with one or more other defendants,
intentionally, and wrongfully contrived, designed and brought
charges and specifications against the plaintiff to remove him

and terminate him from his employment with the RUFSD.

115. That the defendants, their agents, servants and/or
employees intentionally, wrongfully and/or negligently
initiated a process pursuant to New York State Education Law
3020(a) and related provisions against the plaintiff that they
knew or should have known were grounded and based in their own

corrupt and culpable conduct.

116. That the defendant(s} committed these acts with
malice or in reckless or willful disregard of plaintiff's

rights.

117. That these acts constituted state action in violation
of the plaintiff’s constitutional, statutory and common law
rights, both under New York State Laws and the recognized

Federal Laws.

—-27-

118. The plaintiff repeats and realleges paragraph 73

above.

AS AND FOR A SEVENTH CAUSE OF ACTION

119. The plaintiff repeats and realleges each and every

paragraph 1 through 118.

120. Upon knowledge in part, and information and belief,
as a member of the RTA the plaintiff was entitled to a
assistance by the RTA, including, but not limited to matters
involving breaches of contract and/or tortuous conduct,
reasonable foreseeable, committed or intended by the RUFSD. It
was, in the plaintiff’s view, part of the services that the
plaintiff expected in return for his union dues. The RTA and
NYSUT were put on notice well in advance of the charges and
psychiatric examinations conducted, that in the plaintiff's
view, the RUFSD was going to retaliate against the plaintiff
for bringing a second grievance. Both were told that documents
in the plaintiff's school file were there in violation of the
plaintiff’s rights under the contract with the RUFSD. Through
its president, the RTA, notified the plaintiff that a grievance
to remove illegitimate documents from the plaintiff school file
had been initiated and filed in 2002. The plaintiff repeatedly
questioned different members of the RTA from time to time
regarding the status of that grievance. Each time the plaintiff
was advised that the grievance was in process. In 2004, during
the arbitration proceedings the RTA president informed the

plaintiff that, in fact, no grievance was ever filed by Diane

-2?8-

McCarthy, the RTA person responsible, and that RTA decided not
to bring a grievance to remove the documents.

Furthermore, the plaintiff sent letters to NYSUT to
initiate legal proceedings to enjoin and prohibit the RUFSD
from continuing the plaintiff’s suspension, return him to the
classroom, prevent further psychiatric examinations and to
obtain new counsel, different from those selected to represent
the plaintiff in the 3020{(a) proceeding. In addition NYSUT
informed the plaintiff that he should retire, take the required
conditional reinstatement examination, and upon passing it
rescind his retirement and go back to work. NYSUT and the RTA
advised the plaintiff that he had a year to rescind his
retirement from the date it went into effect. The plaintiff
followed this advice and retired. The RTA and NYSUT informed
the plaintiff that unless he irrevocably retired, the RUFSD
would not continue his cost free medical coverage. The
plaintiff was informed by the NYSTRS that this was not true.
The plaintiff subsequently learned that all these

representations were also false.

121. That the plaintiff was at all times hereinafter

mentioned a member of the RTA.

122. That upon information and belief the RTA is the
Teachers’ Union, representing the plaintiff and other teachers

in the RUFSD.

123. That upon information and belief there is a Union
agreement with the defendant, NSUT, a private body associated
with the RTA to provide services, inciuding, but not limited to
grievance protection, legal defense and counsel to member

teachers in the RUFSD.

-29-

124. As a result of the foregoing, the plaintiff required
the defendant NYSUT to investigate, take steps to prevent and
defend the plaintiff in the New York State 3020(a) hearing.

125. That this defendant, its agents, servants and/or
employees breached this contract and were guilty of legal
maipractice in failing, neglecting and/or refusing to properly
review and/or consider plaintiff’s prior history, test,
examine, evaluate, measure, and/or assess, the plaintiff’s
condition and/or conduct; in failing and/or neglecting to
obtain an adequate history of the plaintiff; in failing to
investigate the actions taken by the RUFSD against the
plaintiff; in defending the plaintiff in a careless, negligent
and unprofessional manner; in failing to adequately provide
legal counsel by failing to gather information, interview
witnesses, effectively cross-examine witnesses; in making false
and/or misleading statements to the plaintiff; in requiring the
plaintiff to expend his own funds in his own defense as part of
the 3020(a) proceeding prosecuted by the State of New York, its
political subdivisions including the RUFSD; in failing to
demand and/or argue that the plaintiff was entitled to a three
member arbitration panel and not a single arbitrator; in
failing to plead and/or argue that the plaintiff had already
been wrongfully disciplined without charges or specifications
and punished without a hearing in March 2000; in failing to
plead or argue that neither the RUFSD or the New York Education
Department had jurisdiction to initiate or prosecute charges or
specifications for which the plaintiff had already been
disciplined and punished without a hearing; in failing to plead
or argue that neither the RUFSD or the New York Education

Department had jurisdiction to initiate or prosecute charges or

-30-

specifications based on evidence outside the statute of
limitations within the constraints of The New York State
Education Law; in failing to plead or argue that the actions of
the RUFSD and the NYS Education Department constituted state
action in viclation of the plaintiffs constitutional, statutory
and common law rights; in failing to prosecute a grievance to
restrict and/or remove certain documents from the plaintiff's
school file; in failing to correct known errors in the
plaintiff's physician’s reports; in failing to inform the
arbitrator at the 3020(a) hearing of these and other errors not
of the plaintiff's making; in failing to possess and use the
degree of diligence and skill ordinarily possessed by attorneys
in the community at the time of the events complained of; in
failing to use reasonable skill, care and diligence in the
exercise of professional knowledge to accomplish the purpose
for which the defendant’s assistance was required; in failing
to take any effective and adequate means or measures to prevent
further harm and/or injury to the plaintiff; in departing and
deviating from standard and accepted procedures then and there
obtaining in the community; in failing and omitting to take
proper and suitable precautions for the effective assistance of
counsel for the plaintiff’s benefit; and in requiring the

plaintiff to pay for this assistance.

126. The plaintiff repeats and realleges paragraph 73

above.

-31-

AS AND FOR A EIGHTH CAUSE OF ACTION

127. The plaintiff repeats and realleges each and every

paragraph 1 through 126 above.

128. That upon information and belief the defendant,
American Arbitration Association, {AAA) is a private entity,
one purpose of which is to supply arbitrators to inquire, take
evidence, conduct hearings, make rulings and render decisions

in civil and administrative matters.

129. That upon information and belief the AAA employed the
defendant, Arthur Regal, to act in the capacity as an

Arbitrator from time to time.

130. That upon information and belief the defendant Arthur
Regal, was selected by the defendants NYSUT and JASPAN
SCHLESINGER, HOFFMAN, L.L.P., to act as the arbitrator in the

3020(a) hearing concerning the plaintiff.

131. That the defendant Arthur Regal, was inadequate by
training, education, experience and intelligence to the task

given to him.

132. That this defendant, AAA was negligent in hiring the
defendant, Arthur Regal to serve as arbitrator in the matter of

the plaintiff.

133. That this defendant, Arthur Regal was negligent in

serving as the arbitrator in the matter of the plaintiff.

-32-

134. That this defendant, AAA, its agents, servants and/or
employees breached its contract with NYSUT and the plaintiff,
as a third party beneficiary; in failing, neglecting and/or
refusing to properly review and/or consider Arthur Regal’s
prior history, skills, education, background, experience and/or
to test, examine, evaluate, measure, and/or assess, his
adequacy as a condition of his employment in serving as the

single arbitrator in the matter of the plaintiff.

135. That this defendant, AAA, its agents, servants and/or
employees were negligent in serving in a careless, negligent
and unprofessional manner; in failing to adequately inquire,
gather information, interview witnesses, effectively cross—
examine witnesses; in failing to correct known errors in the
plaintiff's physician’s reports; in being inadequate to
determine the accuracy, truth or falsity of information
provided at the plaintiff’s 3020(a) hearing; in lacking the
subject matter jurisdiction to determine the issues in the
plaintiff’s 3020(a) hearing; in failing to possess and use the
degree of diligence and skill ordinarily possessed by
arbitrators in the community at the time of the events
complained of; in failing to give proper and appropriate
credence to the testimony of plaintiff’s eminently qualified
psychologist and psychiatrist; in failing to use reasonable
skill, care and diligence in the exercise of professional
knowledge to accomplish the purpose for which the defendant was
required; in failing to take any effective and adequate means
Or measures to prevent further harm and/or injury to the
plaintiff; in departing and deviating from standard and
accepted procedures then and there obtaining in the community;

and in failing and omitting to take proper and suitable

-33-

precautions for the effective assistance of counsel for the

plaintiff’s benefit.

136. The plaintiff repeats and realleges paragraph 73

above.

AS AND FOR A NINETH CAUSE OF ACTION

137. The plaintiff repeats and realleges each paragraph
number 1 through 136 above.

138. The provisions of the NYS Education Law including,
but not limited to section 3020 and 3020{a) and subsequent
amendments and revisions had for a long time provided for a
three member panel and not a single arbitrator in such
Situations as the plaintiff was charged. Sometime after the
substantive provisions governing 3020(a) proceedings were
initiated in this State, the provisions governing the number of
arbitrators was amended to provide in some instances for a
single arbitrator. In the plaintiff’s view these amendments
could not and should not have been applied to the piaintiff's

hearing.

139. That the provisions of the NYS Education Law §3020
and subsequent amendments and revisions providing for a single
arbitrator in such situations as the plaintiff’s denied the
plaintiff due process of law and are void and/or

unconstitutional.

-34-

140. That the defendants, THE NEW STATE TEACHERS’
RETIREMENT SYSTEM, THE STATE OF NEW YORK EDUCATION and the
DEPARTMENT, are political subdivisions of the defendant, State
of New York.

141. That by virtue of the wrongful actions in violating
42 U.S.C. 1983 and the parallel provisions of the statutes,
laws and constitution of the State of New York the defendants
agents, servant and or employees, these defendants have denied

the plaintiff due process of law.

142, That by virtue of the actions of these defendants,
they have authorized and/or ratified the wrongful actions of

the other defendants.

143. That these acts constituted state action in violation
of the plaintiff’s constitutional, statutory and common law
rights, both under New York State Laws and the recognized

Federal Laws.

144. The plaintiff repeats and realleges paragraph 73

above.

AS AND FOR A TENTH CAUSE OF ACTION

145. The plaintiff repeats and realleges each and
every paragraph numbered 1 through 144 above.

=-35-

146. That the defendant, PEARSON, was the organization
that performed the evaluation of the testing that the plaintiff
underwent as part of the examination by the defendant Fayer.
Upon information and belief the test given to the plaintiff was
the wrong test for the purpose intended and given under the
wrong circumstances. Someone, unknown at this time erroneously
evaluated the data by using an inappropriate and/or defective
algorithm. PEARSON, its agent, servant and/or employees
discriminated in selecting answers described as “noteworthy”

and provided erroneous outputs that reflected such responses.

147. That the defendant, PEARSON, was negligent in the
interview, testing, assessment and/or the evaluation of the
plaintiff, constituting negligence and/or malpractice, causing

the plaintiff the injuries and damage herein set forth.

148. That the defendant, its agents, servants and/or
employees was guilty of negligence and/or medical malpractice
in failing, neglecting and/or refusing to properly review
and/or consider plaintiff’s prior history, test, examine,
evaluate, measure, and/or assess, the plaintiff; in failing
and/or neglecting to obtain sufficient information concerning
the plaintiff; in failing to investigate the
medical/mental/psychiatric history of the plaintiff; in failing
to make a differential diagnosis; in testing the plaintiff ina
careless, negligent and unprofessional manner; in failing to
correctly or adequately diagnose the plaintiff; in failing to
possess and use the degree of diligence and skill ordinarily
possessed by similar organizations or psychiatrists in the
community at the time of the events complained of; in failing
to use reasonable skill, care and diligence in the exercise of

professional knowledge to accomplish the purpose for which the

-~36-

plaintiff was examined; in failing to take any effective and
adequate means or measures to prevent further harm and/or
injury to the plaintiff; in departing and deviating from
standard and accepted procedures then and there existing in the
community; in failing and omitting to take proper and suitable

precautions for the safety of the plaintiff.

149. The plaintiff repeats and realleges paragraph 73

above.

AS AND FOR AN ELEVENTH CAUSE OF ACTION

150. The plaintiff repeats and realleges each and every

paragraph numbered 1 through 149.

i151. The plaintiff had, over the years accumulated a large
number of lesson plans, copies of Chemistry, Biology, Earth
Science, and Physics books, years of systematically accumulated
teaching materials, chemicals and laboratory apparatus. He kept
them in his storage places in the RUFSD. Without his knowledge
or consent most of this equipment was removed and/or piled up
in the basement and/or different classrooms. The principal at
the time ordered the materials safely stored until he made a
decision concerning such items. However, when the plaintiff was
suspended in March 2600, most of the items were either thrown
out or removed from the plaintiff’s storage rooms to the
basement or some other place in or out of the school building.
When the plaintiff was suspended and ordered out of the
building, some of these items remained. The plaintiff was not

allowed access to them from March 23, 2000 to date.

-37-

152. That, upon information and belief, on or about March-
May, 2000 the defendants, intentionally, negligently,
wrongfully used, removed, destroyed and/or discarded the
plaintiff’s accumulated chemicals, equipment, books and/or
teaching materials and files without privilege or consent. The
plaintiff observed some of his materials stacked at the garbage
removal location and notified the defendants in May 2000 upon
his return. These items were, upon information and belief
removed from the school premises and in some fashion disposed.
The defendant RUFSD continues, upon information and belief to
hold the remaining items in its possession and control. That
during the course of the time from March 2000 to date the

plaintiff has been refused access to any of these materials.

153. As a result of the foregoing, the plaintiff sustained
personal economic loss, including some specialty items, which
cannot be replaced and presently require reproduction and/or
. purchase. The plaintiff seeks damages for these losses of his
personal property in this action in the sum of One Hundred

Thousand Dollars ($100,000.00).

AS AND FOR AN TWELETH CAUSE OF ACTION

154. The plaintiff repeats and realleges each and every

paragraph numbered 1 through 152.
155. The actions of the defendants RUFSD, NYSED, NYSTRS,

and AAA, in the plaintiff's view, constituted state actions in

violation of the plaintiff’s state and federal rights as

-38-

defined by the New York State Constitution, its statutes, and
common law along with parallel provisions of the Federal Law
including, but not limited to the laws against discrimination
and 42 U.S.C. 1983, 1985. The plaintiff claims that he was
involuntarily forced to retire and apply to the NYSTRS for his
pension because of the arbitrator’s findings, conclusions and
penalty. Should the plaintiff prevail, he requires an order
directing the RUFSD and NYSTRS to reinstate him without loss of

status.

156. As a direct and proximate result of the conduct of the
defendants, and the ratification of these acts by the other
defendants, the plaintiff has, and upon information and belief
will continue to sustain substantial compensable losses such as
salary, social security, pension, physician expenses, medical
expenses, travel and other expenses, suffered embarrassment,
humiliation, severe emotional distress and discomfort, all to
the plaintiff’s detriment and damage in a sum of Five Million
Dollars ($5,000,000.00). The plaintiff also requires a
declaratory judgment fashioning such relief as directing the
NYSTRS to reinstate the plaintiff to the retirement system and

credit him with any losses sustained to date.

AS AND FOR AN THIRTEENTH CAUSE OF ACTION

157. The plaintiff repeats and realleges each and every

paragraph numbered 1 through 155 above.

158. The defendant LAWRENCE TENENBAUM, Esq. was at all

times hereinafter mentioned a duly licensed attorney authorized

-39-

to practice law in the state of New York and employed by the
defendant, JASPAN, SCHLESINGER, HOFFMAN, L.L.P. It is the
plaintiff’s contention that he knowingly and maliciously
cooperated with the RUFSD to further their corrupt agenda by
fabricating an outrageous, biased, defamatory letter to
infiuence and predetermine the outcome of plaintiff's
examination. Upon information and belief, either acting
singularly or in complicity with one or more other defendants
alleged above, and without just cause, he intentionally,
deliberately and knowingly published this contrivance. These
defendants JASPAN, SCHLESINGER, HOFFMAN, L.L.P., Tenenbaum
and/or Arnold Goldberg then did the same with defendant Solomon
for the same purpose. The defendants JASPAN, SCHLESINGER,
HOFFMAN, L.L.P., Tenenbaum and/or defendant, Goldberg did this
maliciously to corrupt and prejudice the process. They ratified
each other’s acts. Not only did these defendants choose the
documents that were sent to the examining physicians, but they
also selectively discriminated in choosing documents that were
not accompanied by the plaintiff’s responses. They knowingly
and deliberately chose not to include any documents that would
or could be viewed as favorable toward the plaintiff. They
also selected documents that were beyond the statute of
limitations and could not be used as a basis for discipline of
the plaintiff. They did these things without privilege in law
and without the consent of the plaintiff.

159. As a direct and proximate resuit of the conduct of
the defendants, the plaintiff has, and upon information and
belief will continue to sustain substantial compensable losses
such as salary, pension, social security, physician expenses,
medical expenses, travel and other expenses, suffered

embarrassment, humiliation, destruction of a lifetime’s

-40-

collection of teaching materials, professional files and
equipment, severe emotional distress and discomfort, and will
in the future be deprived of earning any adequate livelihood in
the public school system, all to the plaintiff’s detriment and
damage in a sum of Five Million Dollars (55,000,000.00).

WHEREFORE, the plaintiff demands judgment against the
defendants in money damages in the sum of Five Million Dollars
($5,000,000.00}) together with punitive damages, equitable
relief, attorney’s fees, interest, costs and disbursements of
this action and whatever other and further relief this court

may deem just and proper.

Dated: Freeport, New York
October 9, 2005

For Plaintif pro-se
145 Smith Street
Freeport, New York 11520
516 868-4591

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Case 2:05-cv-04808-JS-ARL Document 1. Filed 10/12/05 Page 43 of 44 PagelD #: 43

ADMINISTRATIVE OFFICES 240 Demon Place Rousewett, NH 11974 Tel: 4916) $67:8600 Fax: 1514) 379-0178

Michaei 4, Mostew

Shel Johnsen, Pressdent - weet Sugertatandent of Schoats
Stephen Budhu, Vice President i
Marta Bedard
Mark Oaves *
Glens Siewnone
To: Mr. David Jacobs =
7
From: Michael Mostow Ta VW
~ Re: Suspension
Date: March 23, 2000 °

Please be advised that you are hereby suspended, with pay, unti! further
notice. You are not permitted to enter or remain on school property for any
reason without my prior consent.

Please be further advised that your unauthorized presence on school property
will subject you to disciplinary action as well as ejectinn and prosecution
for trespassing.

